                Case:
ILND 450 (Rev. 10/13)     1:21-cv-01936
                      Judgment in a Civil Action   Document #: 18 Filed: 11/10/21 Page 1 of 1 PageID #:75

                                        IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE
                                           NORTHERN DISTRICT OF ILLINOIS

 Melanice Brisco,

 Plaintiff,
                                                                    Case No. 21-cv-01936
 v.                                                                 Judge Mary M. Rowland

 Arlette Brown, M.D., and
 United States of America ,

 Defendants.

                                                    JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                   in favor of plaintiff(s)
                   and against defendant(s)
                   in the amount of $       ,

                             which          includes       pre–judgment interest.
                                            does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


                   in favor of defendants Arlette Brown, M.D., and United States of America
                   and against plaintiff Melanice Brisco.

         Defendants shall recover costs from plaintiff.


                   other:

This action was (check one):

      tried by a jury with Judge Mary M. Rowland presiding, and the jury has rendered a verdict.
      tried by Judge Mary M. Rowland without a jury and the above decision was reached.
      decided by Judge Mary M. Rowland on a motion to dismiss.



Date: 11/10/2021                                                Thomas G. Bruton, Clerk of Court

                                                          Dawn A. Moreno, Deputy Clerk
